              IN THE UNITED STATES DISTRICT COURT FOR THE
                     EASTERN DISTRICT OF TENNESSEE
                             AT GREENEVILLE




UNITED STATES OF AMERICA                      )
                                              )
v.                                            )      No. 2:08-CR-16
                                              )
GARY MOORE                                    )


                                     ORDER


              This criminal case is before the court on the magistrate judge’s

report and recommendation that the defendant’s motion to suppress evidence be

denied [doc. 63]. No objections to the report and recommendation have been

filed within the time allowed, and the report and recommendation is ripe for the

court’s consideration.

              Under 28 U.S.C. § 636(b), a de novo review by the district court of a

magistrate judge's report and recommendation is both statutorily and

constitutionally required. See United States v. Shami, 754 F.2d 670, 672 (6th Cir.

1985). However, it is necessary only to review "those portions of the report or

specified proposed findings or recommendations to which objection is made." 28

U.S.C. § 636(b); see also United States v. Campbell, 261 F.3d 628, 631-32 (6th

Cir. 2001).




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            The court has reviewed de novo the defendant’s motion to suppress

evidence [doc. 56], the transcript of the suppression hearing [doc. 87], and the

report and recommendation, and agrees with the magistrate judge’s findings of

fact and conclusions. The court ADOPTS the report and recommendation in its

entirety, and the defendant’s motion to suppress evidence is DENIED.



                                              ENTER:



                                                     s/ Leon Jordan
                                              United States District Judge




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